






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




J. CLEO THOMPSON AND JAMES
CLEO THOMPSON, JR., L.P., WES-TEX
DRILLING COMPANY, L.P., AND
APPROACH RESOURCES I, L.P.,


                            Appellants,


v.



CHERYL ELIZABETH CLAYTON, 


                            Appellee.
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No. 08-07-00152-CV



Appeal from the


112th Judicial District Court


of Crockett County, Texas 


(TC# 05-09-06794 ) 



O P I N I O N


	In a letter dated January 2, 1975, Mr. James Cleo Thompson, Jr. offered Mr. Joe Clayton
$3,000 on behalf of J. Cleo Thompson, James Cleo Thompson, Jr., and Wes-Tex Drilling
Company for the right to cross his land to reach an adjacent property owned by Mrs. Ann Cole
Lauffer.  Mr. Clayton accepted the offer on the condition that Thompson, et al would repair the
road to good condition whenever it is damaged by their drilling or operating vehicles since this
was the only access road to the east side of the ranch.

	Mr. Thompson stated in his affidavit that he is a member manager of J. Cleo Thompson
Petroleum Management, LLC, the general partner of J. Cleo Thompson, and James Cleo
Thompson, Jr. L.P.  Mr. Thompson is the part owner of a working interest in the lease covering
the lands owned by Ms. Clayton and the Lauffer Estate.  Mr. Thompson personally negotiated the
January 2, 1975 letter with Mr. Clayton.  Mr. Thompson stated that Mr. Clayton represented to
him that the company had a right to travel over the roadway at issue to access its interests on the
Lauffer Lease, and Mr. Thompson believed and relied on that representation.  From 1975 until
after Mr. Clayton's death, no one objected to the use of the roadway.  Attached as an exhibit to
the affidavit, was a cashed check payable to Joe Clayton in the amount of $3,000, which was the
consideration for the right to cross the Clayton property to access the Lauffer Lease.

	By affidavit, Cheryl Clayton stated that she is the successor in interest to a portion of the
ranch through which the road at issue runs.  Ms. Clayton saw the original route which passed
near her house while both her parents were alive.  In 1997, Ms. Clayton requested the oil
companies use an alternative road, a further distance from the house, with which they complied. 
Ms. Clayton stated there have been more vehicles and personnel using the road than in 1975. 
The trucks have deviated from the road and travel outside the width of the existing road. 
Ms.&nbsp;Clayton stated that the agreement has been violated numerous times by deviating from the
designated road, leaving gates open and unlocked, not repairing the cattle guards or putting them
back in place when moved, drilling wells during hunting season, and placing a waterline across
her property without permission.

	Mr. James Dalby, district superintendent with J. Cleo Thompson and James Cleo
Thompson, Jr. L.P., stated in an affidavit that since 1975 to 2006, the company has used the
roadway across the Clayton property to access and develop minerals under the Lauffer Lease. 
The company has maintained and improved the roadway over that same time period through
grading and adding caliche.  The company has spent many dollars to keep the roadway in good
working condition, and none of the costs were assessed to Ms. Clayton or her predecessor in title.

	Ms. Clayton brought a declaratory judgment suit to determine whether Appellants could
continue to use a road across her property, and if so, under what terms.  Plaintiff and Defendants
filed motions for partial summary judgment.  At the beginning of trial, the judge stated that he
was of the opinion that the agreement terminated upon the death of Joe Clayton.  The Defendants
put on a bill of exception.  The parties agreed to introduce attorneys fees, and allow the court to
decide on those fees.  The judgment signed by the trial court granted Ms. Clayton's motion for
partial summary judgment and denied Defendants' motions for summary judgment.  The
judgment further states that the defendants and their successors or assigns may not in any way
access the Lauffer Ranch or the Ann Cole Mineral Estate by crossing the property formerly
owned by Joe Clayton, and awarded Plaintiff attorney's fees.

	Appellants raise four issues on appeal:  (1) the trial court erred in granting Plaintiff
Clayton's motion for partial summary judgment and denying Defendants' motion and in
concluding the Road Agreement had terminated as a matter of law; (2) the trial court erred in
barring access from the Clayton property to the Lauffer property under the oil and gas lease; (3)
the trial court erred in granting partial summary judgment after trial; and (4) because Appellants
were authorized to use the road, the issue of attorney's fees should be remanded for
reconsideration by the trial court.  We reverse, render, and remand.

	A traditional motion for summary judgment is properly granted only when the movant
establishes that there are no genuine issues of material fact to be decided and that he is entitled to
judgment as a matter of law.  See Tex.R.Civ.P. 166a(c); Lear Siegler, Inc. v. Perez, 819 S.W.2d
470, 471 (Tex. 1991).  A defendant seeking summary judgment must negate as a matter of law at
least one element of each of the plaintiff's theories of recovery or plead and prove as a matter of
law at least one element of an affirmative defense.  See Centeq Realty, Inc. v. Siegler, 899
S.W.2d 195, 197 (Tex. 1995).  If the defendant establishes a right to summary judgment, the
burden shifts to the plaintiff to present evidence raising a fact issue.  See id.  In reviewing the
grant of summary judgement, we view the evidence in the light most favorable to the non-movant
and make every reasonable inference and resolve all doubts in favor of the non-movant.  See
Centeq Realty, Inc., 899 S.W.2d at 197.  Where the trial court's judgment does not specify the
grounds relied upon for its ruling, the summary judgment must be affirmed if any of the theories
advanced is meritorious.  Garcia v. El Paso Ltd. P'ship, 203 S.W.3d 432, 435 (Tex.App.--El
Paso 2006, no pet.).  We review de novo a trial court's grant or denial of a traditional motion for
summary judgment.  Creditwatch, Inc. v. Jackson, 157 S.W.3d 814, 816 n.7 (Tex. 2005).  When
the trial court grants one party's motion for summary judgment and denies the other, we review
both motions, and if we find the trial court erred, we will reverse and render the judgment the
trial court should have rendered.  See Bradley v. State ex rel. White, 990 S.W.2d 245, 247 (Tex.
1999).

	Issues of law, such as construction of a written contract, are reviewed de novo.  Angell v.
Bailey, 225 S.W.3d 834, 838 (Tex.App.--El Paso 2007, no pet.).  In construing a contract, a
court's primary concern is to give effect to the written expression of the parties' intent.  Id. at
839.  Generally, any language that clearly shows an intention to grant an easement is sufficient
for the purpose; no special form or particular words need be employed.  Hubert v. Davis, 170
S.W.3d 706, 711 (Tex.App.--Tyler 2005, no pet.).

	Generally, an easement constitutes an interest in the land itself, while a license merely
confers a privilege to do some act or acts upon the land without conveying any interest in or title
to the land itself.  Samuelson v. Alvarado, 847 S.W.2d 319, 323 (Tex.App.--El Paso 1993, no
writ).  An easement has been further defined as a "liberty, privilege, or advantage in land without
profit, existing distinct from the ownership of the soil."  Richter v. Hickman, 243 S.W.2d 466,
468 (Tex.Civ.App.--Galveston 1951, no writ). The creation of easements may be by an express
grant by implication, by estoppel, by prescription, or by the purchase of land with reference to a
map or plat showing abutting roads or streets.  See Horne v. Ross, 777 S.W.2d 755, 756
(Tex.App.--San Antonio 1989, no writ).  Since an easement is an interest in land, the creation
and transfer of such an interest is subject to the statute of frauds, unless the easement is imposed
by operation of law.  See Drye v. Eagle Rock Ranch, Inc., 364 S.W.2d 196, 203 &amp; n.5 (Tex.
1962)(noting a license may rise to the dignity of an easement and must be in writing).  An
easement is not revocable at will.  See Marcus Cable Assocs., L.P. v. Krohn, 90 S.W.3d 697, 700
(Tex. 2002).  An easement that terminates upon the happening of a particular event or
contingency is a "determinable easement."  Hubert, 170 S.W.3d at 712.

	A license is defined as a privilege or authority given to one or retained by one to do some
act or acts on the land of another, but which does not amount to an interest in the land itself.  City
of Austin v. Puett, 344 S.W.2d 717, 720 (Tex.Civ.App.--Austin 1961, writ ref'd n.r.e.).  The
general rule is that gratuitous licenses are revocable at will.  Id. at 720.  A license in real estate is
revocable at will.  Drye v. Eagle Rock Ranch, Inc., 364 S.W.2d 196, 203 (Tex. 1963).  A license
terminates upon the death of the licensor.  See Chicago, R.I. &amp; G. Ry. Co. v. Johnson, 156 S.W.
253, 256 (Tex.Civ.App.--Amarillo 1913, writ ref'd).  There are exceptions to the general rule,
one of which is where the licensee has been induced to expend a considerable amount of money
or labor in reliance on the subsistence of his license.  City of Austin, 344 S.W.2d at 720.

	The agreement at issue follows:

	Dear Mr. Clayton:


	This letter is written for the purpose of putting into writing our verbal
understanding concerning your granting us permission to pass over your lands
along a road which passes through a portion of the following lands owned by you:


		N/2 of Section 1, Block GH, GC&amp;SF Ry. Co. Survey;

		Section 26, Block CD, GC&amp;SF Ry. Co. Survey;

		Section 8, 9, 10 and 11, Block 1, GC&amp;SF Ry. Co. Survey 

		All in Crockett County, Texas


	and passing on to the property presently owned by Mrs. Ann Cole Lauffer in
Section 13, Block 1, GC&amp;SF Ry. Co. Survey along with other lands owned by
Mrs. Lauffer and leased to us, under the following terms and conditions:


		1.	We agree to pay to you the sum of $3,000.00 cash.  (Said
check is enclosed herewith covering the full and complete
payment and you are hereby authorized to deposit said
check as evidence of your acceptance, when you have
executed this letter in the space provided below.)


		2.	It is understood that J. Cleo Thompson, James Cleo
Thompson, Jr. and Wes-Tex Drilling Company
have the right to pass on to the lands of Mrs. Ann
Cole Lauffer for the purpose of drilling, exploring,
developing and producing the lands presently held
by Thompson, et al on the Ann Cole Lauffer
mineral estate.  It is further understood that
Thompson, et al does not have the right to extend
these roads off Mrs. Lauffer's land on to other oil
and gas leases we may acquire hereafter.


		3.	It is understood and agreed that Thompson, et al
does not have the right to assign to others the rights
granted herein, except Thompson, et al may assign
said Lauffer lease to third parties.  It is not the intent
herein to grant to Thompson rights other than to
develop the Lauffer lease and it is understood that if
Thompson so elects they may transfer and assign
the rights herein granted to the purchaser from
Thompson, if any.


		4.	It is understood that Thompson, et al will not drill
any wells on the Lauffer lands during deer hunting
season.


		5.	It is understood that Thompson, et al will install a
cattle guard and gate where Thompson crosses the
present fence line between the Clayton and Lauffer
properties and that the gate will be kept locked at all
times, except when Thompson, et al has drilling,
workover or completion equipment on said Lauffer
lands.  It is also understood that Thompson will
properly brace said fence.


		6.	It is understood that Thompson, et al will not have
the right to open up the roads to the public or any
person other than those working for Thompson, et al
either directly or indirectly.  It is understood that
Thompson, et al and all of his personnel, agents or
nominees will have the right and privilege of
passing to and from at their sole discretion.


	Supplement to 6.:	It is understood and agreed that
Thompson, et al will put this road
back in good condition whenever it
is damaged by their drilling or
operating vehicles.  This is necessary
since it is the landowner's only
access road to the east side of the
ranch.


		7.	All rights granted herein will terminate when
Thompson, et al or their successors and assigns plug
and abandon and release said Lauffer lands.


	If the above meets with your approval, you are requested to please indicate your
acceptance by signing in the space provided below, retain the original for your
files and return to us one executed copy.


						Yours truly,

						James Cleo Thompson, Jr.


	The agreement initially states Mr. Clayton is granting permission to Thompson, et al to
pass over his land.  However, the agreement states in the body that Thompson, et al "have the
right to pass on to the lands of Mrs. Ann Cole Lauffer for the purpose of drilling, exploring,
developing and producing the lands presently held by Thompson, et al on the Ann Cole Lauffer
mineral estate."  The agreement also gives Thompson, et al the right and privilege of passing to
and from at their sole discretion.  The right of entrance to and exit from an estate is generally an
appurtenant easement.  Daniel v. Fox, 917 S.W.2d 106, 110 (Tex.App.--San Antonio 1996, writ
denied).  Appellee argues that no words of grant or conveyance were used in the agreement. 
However, no special form or particular words need to be employed.  Hubert, 170 S.W.3d at 711. 
The right and privilege of passing to and from at their sole discretion shows an intent to create an
easement.  See Hubert, 170 S.W.3d at 712 (grant of free use and right of passage with free
ingress and egress held to create an easement).

	Appellee also argues that the agreement does not comply with the Statute of Frauds and
the Statute of Conveyances because the easement was not adequately described, the signatures to
the agreement were not acknowledged, and the document was not recorded and could not be
recorded.  The Statute of Fraud requires that the agreement be in writing and signed by the
grantor.  Tex.Bus.&amp;Com.Code Ann. § 26.01 (Vernon 2009); Vinson v. Brown, 80 S.W.3d 221,
226 (Tex.App.--Austin 2002, no pet.).  The Statute of Conveyances requires a writing signed by
the grantor as well.  Tex.Prop.Code Ann. § 5.021 (Vernon 2004); Murphy v. Long, 170 S.W.3d
621, 624 (Tex.App.--El Paso 2005, pet. denied).  Here, the agreement was in writing and signed
by Mr. Clayton.  The description of an express easement must be definite and certain upon the
face of the instrument itself or in some writing referred to in the instrument, such that a surveyor
can go upon the land and locate the easement from the description.  Hubert, 170 S.W.3d at 710. 
However, an easement has been found where the tract of land to be burdened by an express
easement is sufficiently identified even if there is no exact designation of the location of the
easement.  Vinson, 80 S.W.3d at 227, citing Jones v. Fuller, 856 S.W.2d 597, 602 (Tex.App.--Waco 1993, no writ).  A description of the easement was added by Mr. Clayton in supplemental
Section 6 as "the landowner's only access road to the east side of the ranch."  Appellee finally
argues that the agreement did not form a valid easement because the signatures were not
acknowledged, and thus the document cannot be recorded, but an unrecorded easement is binding
on a successor in interest who has notice of the agreement.  Tex.Prop.Code Ann. § 13.001(b). 
Ms. Clayton's affidavits show she had knowledge of the agreement.  We find the agreement
granted an express determinable easement that ends when "Thompson, et al or their successors
and assigns plug and abandon and release said Lauffer lands."  Issue One is sustained.

	Having sustained Appellant's Issue One, we reverse the judgment of the trial court,
render judgment that an easement was transferred in the 1975 agreement, and remand to the trial
court for a reconsideration of attorney's fees.



June 10, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


